Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
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IMUM MigliegutltcelmoM lc iltigm cel met tte

Debtor1 | Ammon Edward Bundy

First Name Middie Name Last Name

: 14
Debtor 2 =
(Spouse, if filing) First Name Middie Name Last Name .

United States Bankruptcy Court for the: District of Utah c

Case number is. . CJ Check if this is an
(if known) amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Ea Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Total real estate, from Schedule A/B $ _1,180,000.00_

1b. Copy line 62, Total personal property, from Schedule A/B...........:.cccccccscsscsceecsecsesesescessescacesccarssssavssesceacesevaseseacetvacsanseseee $ 393,300.00

1c. Copy line 63, Total of all property On Schedule A/B ..........c.cessssssssesescsccnsssecscsssesesesnsesscecsescesssarcsenesescacaceusssseneaesearecueseeeses $ 1,573,300.00

Ea Summarize Your Liabilities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 0.00
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D $ ace

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F $

0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ..........cccccccecsecoseseseeseceeeoes ne 33,000,000.00

Your total liabilities g 23,000,000.00
a Summarize Your income and Expenses
4. Schedule |: Your Income (Official Form 1061) 11.100.00
Copy your combined monthly income from line 12 Of Schedule | .............cccccccececcscssesssesesesesssscscerseseseseucotscssevavsesseseneseeecoes ‘ee
5. Schedule J: Your Expenses (Official Form 106J) 0.616
Copy your monthly expenses from line 22c Of Schedule J ............c..cccsssccecsseeseesescescesesseecessessesesssescssesscecessatcessaseacesseeceacseese $ 10,616.00

44

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Document Page 2 of 49
Debtor 1 Ammon Edward Bundy g Case number {it known),

First Name Middle Name Last Name

a Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

() No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

“ Yes

7. What kind of debt do you have?

CJ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C, § 159.

Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 11,100.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:
Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

3 : Bele ac 0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
9d. Student loans. (Copy line 6f.) $ 0.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

Debtor 1

Debtor 2

Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Document Page 3 of 49
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Ammon Edward Bundy
First Name Middie Name Last Name
Middie Name Last Name

(If known)

(Spouse, if filing) First Name

United States Bankruptcy Court for the: District of Utah

Case number

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

UJ Check if this is an
amended filing

04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

ea Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

4 Married
C) Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

() No

w Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1:

4615 Harvest Lane

Dates Debtor 1
lived there

Debtor 2:

QO Same as Debtor 1

From 03/17/2015

Dates Debtor 2
lived there

C2) same as Debtor 1

From

To

Numb Street Numb Street
umber te 11/07/2023 umber Stree’
Emmett ID 83617
Ciy = State ZIPCode City
Q Same as Debtor 1
From
Number Street Number Street
To
City State ZIP Code City

State ZIP Code
Q Same as Debtor 1
From
To
State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

OQ) No
uw Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

BES exriain the Sources of Your Income

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Debtor1 | Ammon Edward Bundy

Document

First Name Maidie Name

Last Name

Page 4 of 49

Case number (i known)

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

OQ) No
@ Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2023 _i+)
YYYY

For the calendar year before that:
(January 1 to December 31,2022 )
YYYY

Debtor 1

Sources of income
Check all that apply.

wd Wages, commissions,

bonuses, tips
Operating a business

Y Wages, commissions,
bonuses, tips

Operating a business

a Wages, commissions,
bonuses, tips

Operating a business

Gross income

(before deductions and
exclusions)

¢ 62,000.00

$ __ 124,000.00

$128,000.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest: dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

) Wages, commissions,

bonuses, tips

Q) Operating a business

Q Wages, commissions,

bonuses, tips

Q) Operating a business

Q) Wages, commissions,

bonuses, tips

O Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Ww No
Gf Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Debtor 1

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Debtor 2

Sources of income
Describe below.

(January 1 to December 31,2023 _)
YYYY

For the calendar year before that:

(January 1 to December 31,2022

YYYY

Official Form 107

Gross income

(before deductions and
exclusions)

$

Gross income from
each source

(before deductions and
exclusions)

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 2
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18

Document Page 5 of 49

Debtor? | Ammon Edward Bundy Case number (i known)

First Name

Middle Name

Desc Main

Last Name

ro List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

4 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

@ No. Go to line 7.

(J Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

OQ) Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

() No. Go to line 7.

() Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Official Form 107

Creditors Name

Number Street

Dates of Total amount paid Amount you still owe
payment

City

State ZIP Code

Creditors Name

Number Street

City

State ZIP Code

Creditors Name

Number Street

City

State ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Was this payment for...

Q) Mortgage

C) car

OQ) credit card

C} Loan repayment

Q) Suppliers or vendors

C) other

QQ) Mortgage

O) car

CD credit card

QO Loan repayment

QO Suppliers or vendors

C} other

Q Mortgage

C) car

OQ) credit card

CI Loan repayment

cy Suppliers or vendors
CQ) other

page 3
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 6 of 49
Debtor1 | AMmon Edward Bundy

Case number (if known)
First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

% No

C) Yes. List all payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insider's Name
Number Street Z) ed ee ~ eas
City State ZIP Code
$ $
Insider's Name

Number Street

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

A No

C) Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid = include creditor's name

Insider's Name

Number Street

City State ZIP Code

Insider's Name

Number Street

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 7 of 49
Debtor? | Ammon Edward Bundy

Case number (if known)
First Name Middle Name Last Name

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes.

4 No

CQ) Yes. Fill in the details.

’

Nature of the case Court or agency Status of the case
Case title Giani Same QO Pending
O On appeal
— = Suet ae eae Number Street 2......° ° Q Concluded
Case number
City State ZIP Code
Case title Gouri Name QO Pending
QO On appeal
ane ier — - Nomber Suet Q conciuded
Case number =
Ciy =——s—“‘i‘;CCOC«CState:«=©=6CZIPCOde))

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

a No. Go to line 11.
CJ Yes. Fill in the information below.

Describe the property Date Value of the property
$
Creditor's Name
Number Street Explain what happened
Cj Property was repossessed.
Q Property was foreclosed.
Q) Property was garnished.
City State ZIP Code Q Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditors Name
Number Street
Explain what happened

CJ Property was repossessed.

C) Property was foreclosed.

Q) Property was garnished.

Q Property was attached, seized, or levied.

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 8 of 49
Debtor 1 Ammon Edward Bundy Case number (if known),

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

W No

C) Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken
Creditor's Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

W@W No
Q) Yes

Ca List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

OQ) No
id Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
Tithing/donations
LDS Church ¢ 24,000.00
Person to Whom You Gave the Gift a ae a
$
Number Street
City State ZIP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 9 of 49

Debtor 1 Ammon Edward Bundy Case number (if known)

First Name Middle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
CQ) No

@ Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
Donations
Boise Rescue Mission $ 1,200.00
Charity's Name
$

Number Street

City State ZIP Code

eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

CI Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred eve aos loss lost

Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

W@ No
QO) Yes. Fill in the details.

Description and value of any property transferred Date paymentor Amount of payment
transfer was
PersonWhoWasPad == made
Number Street $
ec a aa a a $

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 10 of 49

Debtor 1 Ammon Edward Bundy Case number (if known)
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

C) Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street s
$

City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
QO) No
@ Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
4 sferred d
Aaron Welling - White Barn Ent. — ee =
Person Who Received Transfer Our home valued at Sold house to my friend Aaron
4354 W Central Rd approximately $1,400,000 Welling to try and avoid losing our 11/15/2022
== home to St. Luke's Health System
fat east =! a Executives.
Emmett Idaho 83617
= = St. Luke's attorney's sued us both
Person's relationship to your riend
Person Who Received Transfer
Number Street
City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 11 of 49
Debtor 1 Ammon Edward Bundy Case number (if known)

First Name Middle Name Last Name

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

W@W No
C) Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

C] No
@ Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
All Bank Accounts Seized by St.
Name of Financial Institution
MMH C) checking $
Number Street ol Savings

OQ Money market

QO Brokerage

City State ZIP Code Cl other

XXXX— Q Checking $

Name of Financial Institution
OQ Savings

Number Street OQ Money market

C) Brokerage
Q Other_

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

W@W No
(2 Yes. Fill in the details.

Who elise had access to it? Describe the contents Do you still
have it?
OQ) No
Name of Financial Institution jaune QO) Yes
Number Street Number Street os
City State ZIP Code

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 12 of 49

Debtor1 | Ammon Edward Bundy

Case number (i known)
First Name Middle Name Last Name ‘

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
QO) No

Yes. Fill in the details.

Who else has or had access to it? Describe the contents Do you still
have it?
ee Household Items- furnitu i
Airtight Storge ; ely No
lana as Satie Seca a pictures and heirlooms. Di ves
2234 West 200 North Unit B
Number Street Number Street
84720
‘ City State ZIP Code
Cedar City Utah 84720 :
City State ZIP Code
EE tcontiry Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
a No
Q) Yes. Fill in the details.
Where is the property? Describe the property Value
Owner's Name $
Number Street
Number Street
City State ZIP Code
City State ZIP Code
Cre cove Details About Environmental Information
For the purpose of Part 10, the following definitions apply:
= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.
= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.
= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
a No
Q) Yes. Fill in the details.
Governmental unit Environmental law, if you know it Date of notice

Name of site Governmental unit
Number Street Number Street

City State ZIP Code
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18
Document Page 13 of 49

Case number (if known)

Debtor1 Ammon Edward Bundy

Desc Main

First Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

a No
C) Yes. Fill in the details.

Governmental unit Environmental law, if you know it

Name of site Governmental unit
Number Street Number Street
7 e City State ZIP Code

City State ZIP Code

Date of notice

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

© no

CI Yes. Fill in the details.

Court or agency Nature of the case
Case title

Court Name

Number Street
Case number City State ZIP Code

Ce Give Details About Your Business or Connections to Any Business

Status of the
case

QC) Pending
QO On appeal
QO Concluded

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

OQ) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

C) Amember of a limited liability company (LLC) or limited liability partnership (LLP)
Qa partner in a partnership
a An officer, director, or managing executive of a corporation

CJ An owner of at least 5% of the voting or equity securities of a corporation

C) No. None of the above applies. Go to Part 12.
a Yes. Check all that apply above and fill in the details below for each business.

Abish Husbondi Inc

Business Name

Describe the nature of the business

Buy, Lease and Sale Commercial
Real-Estate

Number Street
P.O. Box 1062 Name of accountant or bookkeeper
_ Brant Parker
Cedar City UT 84721
City State ZIP Code
Dono-Custe Inc Describe the nature of the business
eee eT Undefined- inactive
4615 Harvest Lane
Number Street
Name of accountant or bookkeeper
N/A
Emmett ID 83617
City State ZIP Code

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Employer Identification number
Do not include Social Security number or ITIN.

ein: 8 4 2 5 9 1

Dates business existed

From 07/26/20197 06/28/2024

Employer identification number
Do not include Social Security number or ITIN.

Dates business existed

From02/07/2020T 06/28/2024

page 11
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 14 of 49
Debtor1 | Ammon Edward Bundy

Case number (# known)

First Name Middle Name Last Name
Describe the nature of the business Employer identification number
Bundy Farms Inc. Do not include Social Security number or ITIN.
Business Name Grower of Lushaz Gold Melons

Number Street

Name of accountant or bookkeeper Dates business existed
4615 Harvest Lane

Ammon Bundy
Emmett ID 83617 From 02/15/2020T» 06/28/2024
City State  ZIPCode

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

YW No

C) Yes. Fill in the details below.

Date issued

Name MM /DD/YYYY

Number Street

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

Sipe eer x

parative of Debto a Signature of Debtor 2

Date 06/28/2024 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
a No
QO) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
W No

C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

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Debtor 1 Ammon Edward Bundy

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Utah

Case number
(If known)

(J Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

W No

C) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Signature of Debtor 2

Date 06/27/2024 Date

MM/ DD / YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
Ammon Edward Bundy

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Miccle Name Last Name

United States Bankruptcy Court for the: District of Utah

Case number

Official Form 106A/B

Schedule A/B: Property

Entered 07/17/24 13:45:18 Desc Main

C) Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Ca Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

OC) No. Go to Part 2.
wy Yes. Where is the property?

11, 4615 Harvest Lane

Street address, if availabie, or other description

Emmett ID 83617
City State ZIP Code
Gem
County

If you own or have more than one, list here:

42, Mammoth Creek Area
Street address, if available, or other description

Hatch Utah 84735
City State ZIP Code
Garfield

County

Official Form 106A/B

What is the property? Check all that apply.
Ww Single-family home

Q Duplex or multi-unit building

() Condominium or cooperative

2 Manufactured or mobile home

OQ) tana

CI investment property

(2 Timeshare

C) other

Who has an interest in the property? Check one.

C) Debtor 1 only

C2 Debtor 2 only

( Debtor 1 and Debtor 2 only

C2 At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

g _1,400,000.00 ¢ 1,150,000.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

What is the property? Check ail that apply.
QO Single-family home

QO Duplex or multi-unit building

OC) Condominium or cooperative

(2 Manufactured or mobile home

@ Land

C) investment property

C) Timeshare

QO) other

Who has an interest in the property? Check one.
Q) Debtor 1 only

(2 Debtor 2 only

C2} Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?
$ 120,000.00 30,000.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

C) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

Schedule A/B: Property

page 1
Kettner dndpor 5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Debtor " Document Page 17 Of 4@e number wincwn
First Name Last Name
What is the property? Check ail that apply. Do not deduct secured claims or exemptions. Put
Single-famil the amount of any secured claims on Schedule D:
1.3. s ney nee Creditors Who Have Claims Secured by Property.

CQ) Duptex or multi-unit building
(2 Condominium or cooperative

Street address, if available, or other description
Current value of the Current value of the

() Manufactured or mobile home oie ees Porton sae aan
Q) Lana $ $
C) investment property
; Describe the nature of your ownership
Cc State ZIP Cod
ty - . _ ene interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
Q) Debtor 1 only
Cy C) Debtor 2 only

Q) Check if this is community property
(see instructions)

CQ Debtor 1 and Debtor 2 only
Qlat least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 5 1,180,000.00

you have attached for Part 1. Write that number here. ......................cccssecsesccececeeeceesececscescecsesesceseccecseeceesescecee. >

Be Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C) No
W@ Yes
31, Make: Ford Who has an interest in the property? Check one. _ 9 not deduct secured claims or eunplions. Pul
sar the amount of any secured claims on Schedule D:
Model: Expedition Q) Debtor 1 only Creditors Who Have Claims Secured by Property.
y 2019 CQ) Debtor 2 only
ear:
——$—_— QO tor 1 and Debtor 2 onl Current value of the Current value of the
105000 en roy entire property? portion you own?

Approximate mileage:
Other information:

Main family vehicle

If you own or have more than one, describe here:

3.2. Make: Ford
Model: F250
Year: 2020

45000

Approximate mileage:

Other information:

Main work vehicle

Official Form 106A/B

CQ) atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

() Debtor 1 only

CQ) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CQ Atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Schedule A/B: Property

S 25,000.00 ¢ 25,000.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?
s 45,000.00 , — 45,000.00
page 2
Who has an interest in the property? Check one.

Debtor 4 undy Deel umeant
First Name Middle Name Goarrrerrt
3.3. Make: Chevrolet
Model: 2500 Q) Debtor 1 only
wiles 2007 CI Debtor 2 only
= 745000 CJ Debtor 1 and Debtor 2 only

Approximate mileage:

Other information:

Inoperable
3.4. Make: Gearbox _
Model: Trailer
Year: 2006
N/A

Approximate mileage:

Other information:

(C1 At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CQ Debtor 1 only

Cd Debtor 2 only

C) Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

Cl Check if this is community property (see
instructions)

agase 24523930 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
mmon wa Page 128 ofPzegnumber (if knowen),

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

s 2500 , 2,500

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

s 2,500.00 , —_2,500.00

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

(C) No

id Yes

41. Make: Polaris
Model; 290

Year: 2010
Other information:

Inoperable

If you own or have more than one, list here:

45 Mee Polaris

Model: 550
2010

Year:

Other information:

Inoperable

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.
CJ Debtor 1 only

C) Debtor 2 only

() Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

Cl check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

C) Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

CD Cheek if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 1,500.00 ¢ 1,500.00

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?
$ 1,500.00 1,500.00
78,000.00

page 3
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Debtor 4 crx Niome siGichene ie Bocument P age 19 Of AO rumber tirknowny

es Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

O) No
id Yes. Describe......... Appliances, furniture

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

Q) No
i Yes. Describe.......... Electronics

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
C) No

i Yes. Describe.......... Miscellaneous

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

C) No
i Yes. Describe.......... Other
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
QO) No
i Yes. Describe.......... Guns
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CO) No
i Yes. Describe.......... Clothing
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
iJ No

CJ Yes. Describe...........

13. Non-farm animals
Examples: Dogs, cats, birds, horses

No
C) Yes. Deseribe...........

14. Any other personal and household items you did not already list, including any health aids you did not list

CQ) No
C) Yes. Give specific

I sm Excersize Equipment & Other Items

15, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

SEO Fee: SEU RINE RPRIUVIRDORE PON 5500s ca cosscnce pve cas tastes cctecaconengn dance onnnscouinlecacmaauentieeeeoisesseableeacs cca Eka. as oma a saceatn oui

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

§ 15,000.00
$ 3,500.00
$ 500.00
$ 1,000.00
$ 3,000.00
$ 300.00
5 0.00
$ 0.00
$ 3,000.00
$ 26,300.00

>

page 4
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Debtor 4 an ae number (if known
First Name Middle Name lattes DOCUMENT Page 20 of #9™ =

zee ta Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CJ) No
he cee elo Ne eo ne eo! = ona $ 2,500.00

17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

W No

Vass. =n. Institution name:

17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18.Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

W@W No

OD Yes... Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

C) No Name of entity: % of ownership:

i Yes. Give specific | Abish-husbondi Inc shares- 20,000 0% * $ 250,000.00

information about 0%
HOI. ccsnnnsnassccrnneee S %
0% ‘<

Official Form 106A/B Schedule A/B: Property page 5
Case 24-23530 _Doc5 Filed 07/17/24 Entered 07/17/24 13:45:
Debtor: Ammon Edward Bundy ethene Pee cae iad 13: 48 18 Desc Main

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Y no

C) Yes. Give specific  !ssuer name:
information about

21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

WY No
Q) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension pian: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

(4 No

El Weg: c i= be Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
hiveen es Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6
Case 24-23530 .Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Aion award Bundy Document— Page 22 of4grumber winow

First Name Middle Name Last Name

Debtor"

24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
CS Vee eee Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
$
$
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit
W no
C) Yes. Give specific
information about them.... $
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements
No
CJ Yes. Give specific
information about them.... $
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
YW No
Q) Yes. Give specific
information about them... $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

No

C) Yes. Give specific information Federal:
about them, including whether i
you already filed the returns State:

and the tax years. ..................:.0
Local:

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

YW No

C) Yes. Give specific information..............

Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
YW No
C) Yes. Give specific information. .............. :

Official Form 106A/B Schedule A/B: Property page 7
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Deka am Document— Page 23 of AQ umber wrnown

First Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

No
C) Yes. Name the insurance company

: ~ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ..

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

i No

C) Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

iZ No

CD Yes. Describe each claim. ..........ccc.....-

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

id No

C) Yes. Describe each claim. ..............0...-

35. Any financial assets you did not already list

i@ No

C) Yes. Give specific information............. $

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that mumber hore ......:....:.0::.c.ccccccccccscssscssccsssscccessssssssnssssusecesucceseessnesscnecovssarsuscesucsesusessnersunessosesssecsssacsssueestucsssnsseses > $ 252,500.00

coe Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.Do you own or have any legal or equitable interest in any business-related property?
C2 No. Go to Part 6.
id Yes. Go to line 38.

Current value of the

portion you own?
Do not deduct secured claims
or exemptions.
38.Accounts receivable or commissions you already earned
C) No
4 Yes. D ira
= . 11,000.00

Wages (1099)
39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

i No
C) Yes. Describe.......

Official Form 106A/B Schedule A/B: Property page 8
sooner AGAR RARAFBDraPOC S File

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First Name Middie Name alee DOCUMENT Page 24 OF BY wmber winown,

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

CQ) No

W@ Yes. Describe....... $ 25,000.00
Tools
41.Inventory
Wd No
C) Yes. Describe....... $
42. Interests in partnerships or joint ventures
W@ No
Ql Yes. Describe...... Name of entity: % of ownership:
% $
% $
% $
43. Customer lists, mailing lists, or other compilations
No
QC) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
() No
Q) Yes. Describe........
$
44. Any business-related property you did not already list
i No
CI) Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 36,000.00

TON: Fi: FE TOM CURIA PORSETUIOE UMN os sn 3 <asrkssonssngpsaetinsn napbacndlesonedounnncndassosoaes vation cloneshecefussesunsasoeesodéaxtxeucssunteadasiseaal en tntovactceces

la aH Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

If you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

QO) No. Go to Part 7.
W Yes. Go to line 47.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

page 9
Dektor*1

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. First Name Middle Name interne DOCUMENT Page 25 of 49 number (if known)

48. Crops—either growing or harvested

OQ) No
CI Yes. Give specific
information. ............ $
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
Q) No
Elves... 8.
$
50. Farm and fishing supplies, chemicals, and feed
C No
elves 2:2 ee,
$
51. Any farm- and commercial fishing-related property you did not already list
Q) No
C) Yes. Give specific
information. ............ $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that mumber Mere ooo... eeccceccseecceeesssssesessesnesessvessnuseesvessnucssesessosesssesssusessunstsusssusessanestiutessussasesssneseuteesee >
igi Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
O) No
500.00
i Yes. Give specific Safe
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number here 20.000... cececececeeeeneneeceeceeeees > s___——— 800.00

List the Totals of Each Part of this Form

B55, PPE, A Veni ried RPO, IRDA coat ean ans tas PRS cdc ca ss ecepauc a Sep nce ree opts ORAS >
56. Part 2: Total vehicles, line 5 $ 78,000.00

57.Part 3: Total personal and household items, line 15 $ 26,300.00

58. Part 4: Total financial assets, line 36 $ 252,500.00

59. Part 5: Total business-related property, line 45 $ 36,000.00

60. Part 6: Total farm- and fishing-related property, line 52 $

61. Part 7: Total other property not listed, line 54 +5 500.00

62. Total personal property. Add lines 56 through 671. .................... $ 393,300.00

63. Total of all property on Schedule AJB. Add line 55 + lime 62.0.0... ccc esccessessetecsecensensetsetsaessecsenasensessecasenacensensenes

Official Form 106A/B Schedule A/B: Property

Copy personal property total B +#S

s _1,180,000.00

393,300.00

¢ __1,573,300.00

page 10

Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

MMM guir lemme cel gett od

Debtor 1 Ammon Edward Bundy

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Utah

Case number (J Check if this is an
ea amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions——such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Ea identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

C) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you ciaim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Line from 14 100% of fair market value, up to
Schedule A/B: 1-1 any applicable statutory limit
description: 008 $ 25,000.00 Os 1 U.S. Code § 522
Line from 4 AO 4 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from 14 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

Q) No

CY Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Q) No
Q) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1of__
e . Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Debtor? == Ammon Edward Bundy __Dacument Page 27 Ofa4@umber irin

First Name Middle Name Last

es Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim Specific laws that allow exemption

Check only one box for each exemption

Schedule A/B

i 1 U.S. Code § 522
Sees: Safe $ 500.00 Qs 8
Line from 7.58 id 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

i 1 U.S. Code § 522
aaniesi: Cash $ 2,500.00 O$ 8
Line from 2 100% of fair market value, up to
Schedule A/B: 416 _ any applicable statutory limit
Brie on: Ford Expedition 3 25,000.00 yg, 1 U.S. Code § 522
Line from 23 @ 100% of fair market value, up to
Schedule A/B: —— any applicable statutory limit
Briel on, Ford F250 $45,000.00 gg 1 U.S. Code § 522
Line from 2.4 @ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
dia Personal Computer —s g 1,500.00 Qs 1U.S. Code § 522
Line from @ 100% of fair market value, up to
Schedule A/B: 37 any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: ~ any applicable statutory limit
Brief
description: $ Os
ine kom C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CQ 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: ~— any applicable statutory limit
Brief
description: $ Os
Line from CQ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A/B: ———— any applicable statutory limit
Brief
description: $ Os
bien C) 100% of fair market value, up to
Schedule A/B: ~— any applicable statutory limit

Official Form 106C

Schedule C: The Property You Claim as Exempt page ia of
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

of 49

IMUM mlsiielgurtitemem(lultinmm deli mer t 1b
Debtor1  AMmon Edward Bundy

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) FirstName Middle Name. Last Name
United States Bankruptcy Court for the: District of Utah
Case number
(If known) C) Check if this is an

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
W@ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
CD Yes. Fill in all of the information below.

ro List All Secured Claims
Column A Column B Column C

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately p~mountofclaim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. 4, not deduct the that supports this _ portion

As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim if any
Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check ail that apply.
Q Contingent
(2) Unliquidated
City State ZIP Code Q pisputea
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only (2 An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
C2 Atleast one of the debtors and another CJ Judgment lien from a lawsuit

(2 other {including a right to offset)

QO) Check if this claim relates to a

community debt
Date debt was incurred Last4digits of accountnumber
2.2] Describe the property that secures the claim: $ $ $
Creditors Name
Number —— Street ates a T
As of the date you file, the claim is: Check all that apply.
Q Contingent
Q Unliquidated
City State ZIP Code Qj Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CY Debtor 1 only CJ} An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only OQ Statutory lien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another CJ Judgment lien from a lawsuit

CJ other (including a right to offset)

OC) Check if this claim relates to a
community debt

Date debt was incurred Last 4 digits of account number __

Add the dollar value of your entries in Column A on this page. Write that number here: f

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page lof
a
Debtor 4

Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Ammon Edward Bundy

Document Page 29 of, 49

ase number (if known),

First Name Middie Name.

Last Name

sent Faue a - f clai Val = lateral os
int of claim ue of co rai insecu
After listing any entries on this page, number them beginning with 2.3, followed Do notdeduct the that supports this _ portion
by 2.4, and so forth. value of collateral. claim if any
Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check ail that apply.
Q Contingent
City State ZIP Code Q Unliquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CJ Debtor 1 only (J An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only CJ Statutory lien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another C) Judgment lien from a lawsuit
CJ other (including a right to offset)
Q) Check if this claim relates to a
community debt
Date debt was incurred Last4 digits ofaccountnumber
[| Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
CJ unliquidated
City State ZIP Code Q) bisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C1 Debtor 1 only CQ) An agreement you made (such as mortgage or secured
C) Debtor 2 only car loan)
C) Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's lien)
CJ Atleast one of the debtors and another CJ Judgment lien from a lawsuit
C1 Other (including a right to offset
OQ) Check if this claim relates to a pees AE ORO)
community debt
Date debt was incurred Last4digits ofaccountnumber
fy Describe the property that secures the claim: $ $ $

Creditor's Name

Number Street

City State ZIP Code
Who owes the debt? Check one.
QO) Debtor 1 only
CJ Debtor 2 only
CQ Debtor 1 and Debtor 2 only
CJ Atleast one of the debtors and another
QO) Check if this claim relates to a

community debt

Date debt was incurred

Official Form 106D

As of the date you file, the claim is: Check all that apply.

QO Contingent

Qj Unliquidated

Q) Disputed

Nature of lien. Check all that apply.

CJ An agreement you made (such as mortgage or secured
car loan)

CJ Statutory lien (such as tax lien, mechanic's lien)

(J Judgment lien from a lawsuit

C2 Other (including a right to offset)

Last 4 digits of account number __

Add the dollar value of your entries in Column A on this page. Write that number here: ¢

If this is the last page of your form, add the dollar value totals from all pages. s

Write that number here:

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

page of
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Ammon Edward Bundy Document Page 30 of Ag

‘
‘Debtor 4 se NuMber (if known),

First Name Middle Name Last Name

EEE cist Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___

Number Street

City State ZIP Code
|| On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccountnumber
Number Street
City State ZIP Code
On which line in Part 1 did you enter the creditor?
Name Last4digits of accountnumber—

Number Street

City State ZIP Code

|_| On which line in Part 1 did you enter the creditor?
Name Last4digits ofaccountnumber
Number Street
City State ZIP Code

|_| On which line in Part 1 did you enter the creditor?
Name Last4digits ofaccountnumber
Number Street
City State ZIP Code

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber

Number Street

City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page of
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ai TE MCU mcm Clam cel ger tt oe

Ammon Edwad Bundy

Debtor 1

First Name Middie Name Last Name
Debtor 2
(Spouse. if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: District of Utah

CJ Check if this is an
amended filing

Case number
(if known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Cease us All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

td No. Go to Part 2.
Q) Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority

unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

Total claim Priority Nonpriority
amount amount
2.1
Last4digits of accountnumber SF $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
City State ZIP Code C1 Contingent
CJ unliquidated
Who incurred the debt? Check one. ag Disputed
Q) Debtor 1 only
C) Debtor 2 only Type of PRIORITY unsecured claim:
2 Debtor 1 and Debtor 2 only Gl porsaatic support obligations
At lneut one of the dabtorsaed another CJ Taxes and certain other debts you owe the government
C) Check if this claim is for a community debt O Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
Q) No O) other. Specify
QO) Yes
2 | Last4 digits ofaccountnumber $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
QO Contingent
City State ZIP Code Q) Unliquidated
Who incurred the debt? Check one. C) Dispute

QO) Debtor 1 only

O) Debtor 2 only

C Debtor 1 and Debtor 2 only

C2 Atleast one of the debtors and another

C) Check if this claim is for a community debt

Type of PRIORITY unsecured claim:

O) Domestic support obligations

O) Taxes and certain other debts you owe the government
O) Claims for death or personal injury while you were

intoxicated
Is the claim subject to offset? C1 other. Specify
CJ No
QC) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1of_
Debtor 1

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f (if known)

First Name Middle Name

tastName DOCument

Page 32 of

Ea Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

LJ

Priority Creditor’s Name
Number Street
City State ZIP Code

Who incurred the debt? Check one.

CJ Debtor 1 only

CQ) Debtor 2 only

C Debtor 1 and Debtor 2 only

CD Atieast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

OU No
QO) Yes

Priority Creditors Name

Number Street

City State ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

QO) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CQ) Atleast one of the debtors and another

C) Check if this claim is for a community debt

is the claim subject to offset?

QO) No
QO) Yes

Priority Creditors Name

Number Street

City State ZIP Code

Who incurred the debt? Check one.

Q) Debtor 1 only

OQ) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CI Atleast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

C2) No
QO) Yes

Official Form 106E/F

Total claim Priority

Last 4 digits of account number $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
Q Unliquidated
QO Disputed

Type of PRIORITY unsecured claim:

OC) Domestic support obligations
C] Taxes and certain other debts you owe the government

CJ Claims for death or personal injury while you were
intoxicated

Q) other. Specify

Last 4 digits of account number ___ $ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q Unliquidated
Q) Disputed

Type of PRIORITY unsecured claim:

OQ) Domestic support obligations
Q) Taxes and certain other debts you owe the government

CJ Claims for death or personal injury while you were
intoxicated

CD other. Specify

Last 4 digits of account number ___ 3 $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
QO) unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

OQ) Domestic support obligations
C) Taxes and certain other debts you owe the government

CJ Claims for death or personal injury while you were
intoxicated

QO) other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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Pee fees a LastName DOCuMment Page 33 of

Ee List All of Your NONPRIORITY Unsecured Claims

Debtor 1

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3. Do any creditors have nonpriority unsecured claims against you?

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.if you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

ka | St. Lukes Health System, LTD et al

Nonpriority Creditors Name

190 E Bannock St.

Number Street

Boise
City

Idaho

State

83721

ZIP Code

Who incurred the debt? Check one.

C) Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
OQ) No
QO) Yes

Nonpriority Creditor’'s Name

Number Street

City State ZIP Code

Who incurred the debt? Check one.
C) Debtor 1 only
OQ) Debtor 2 only

C) Debtor 1 and Debtor 2 only
CI Atleast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
Q) No
O) Yes

Nonpriority Creditors Name

Number Street

City ZIP Code

Who incurred the debt? Check one.
C) Debtor 1 only
QC) Debtor 2 only

C) Debtor 1 and Debtor 2 only
C) Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?
C] No
QO) Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

Q Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts

@& other. Specify Legal Theft

Last4digitsofaccountnumber $
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
O unliquidated
QO) Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

O) Debts to pension or profit-sharing plans, and other similar debts

OD other. Specify

Last4digitsofaccountnumber 5
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
1 unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

C) student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Q) Debts to pension or profit-sharing plans, and other similar debts

O) other. Specify

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| —— === Document Page 34 of 49

ES Your NONPRIORITY Unsecured Claims — Continuation Page

Official Form 106E/F

Nonpriority Creditor's Name

Last 4 digits of account number ___

When was the debt incurred?

N si
— me As of the date you file, the claim is: Check all that apply.
City State ZIP Code C2 Contingent
2 unliquidated
Who incurred the debt? Check one. QO Disputed

Q) Debtor 1 only

Cd Debtor 2 only

Q) Debtor 1 and Debtor 2 only

C2 Atleast one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

QO) No
C} Yes

Type of NONPRIORITY unsecured claim:

C1 Student toans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CO) Debts to pension or profit-sharing plans, and other similar debts

CJ other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
Last4digits ofaccountnumber 5
Nonpriority Creditors Name
When was the debt incurred?
be: St rm ir
a a As of the date you file, the claim is: Check ail that apply.
City State ZIP Code Q) Contingent
Q) unliquidated
Who incurred the debt? Check one. Qa Disputed
C) Debtor 4 only
CI Debtor 2 only Type of NONPRIORITY unsecured claim:
2 Debtor 1 and Debtor 2 only 5} siodant inane
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt YOKE ca SPDT a es oe A
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? CJ other. Specify
O No
QO) Yes
Last4 digits ofaccountnmumber $
Nonpriority Creditors Name
When was the debt incurred?
N Ss
—_— me As of the date you file, the claim is: Check all that apply.
City State ZIP Code OC) Contingent
Q Unliquidated
Who incurred the debt? Check one. Q Disputed
QC) Debtor 1 only
CD Debtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only ©) séitent inane
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt yee eee a ne ase
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Cd other. Specify
QO) No
QO) Yes
$

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oe ——— “re Document Page 35 of 49

ea List Others to Be Notified About a Debt That You Already Listed

Debtor 1

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

Official Form 106E/F

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Third District Court of Idhao - Ada County

Name

On which entry in Part 1 or Part 2 did you list the original creditor?

200 West Front St Line 4.1 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured Claims
Boise Idaho 83702 Last4 digits ofaccountnumber

City Stale ZIP Code

Fourth District Court of Idaho - Gem County

Name

On which entry in Part 1 or Part 2 did you list the original creditor?

415 E Main St Line 4.1 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims

a a @ Part 2: Creditors with Nonpriority Unsecured
Claims

Emmett Idaho 83617 Last4 digits ofaccountnumber

City Slate ZIP Code

First District Court of Wyoming - Laramie Cour

Name

On which entry in Part 1 or Part 2 did you list the original creditor?

309 W 20th St Line 4.1. of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims

Number Street Part 2: Creditors with Nonpriority Unsecured
Ciaims

Cheyenne WY 82001 Last 4 digits of account number __ ae

City Slate ZIP Code

Third District Court - Salt Lake County

Name

On which entry in Part 1 or Part 2 did you list the original creditor?

450 South State St Line _4.1_ of (Check one): O) Part 1: Creditors with Priority Unsecured Claims

Number Street Part 2: Creditors with Nonpriority Unsecured
Claims

Salt Lake City UT 84114 Last4digitsofaccountnumber—

City State ZIP Code

Fifth District Court of Utah - Washington Count On which entry in Part 1 or Part 2 did you list the original creditor?

Name

206 West Tabernacle Suite 100 Line 4-1 of (Check one): Q Part 1: Creditors with Priority Unsecured Claims

Number Street @ Part 2: Creditors with Nonpriority Unsecured
Claims

St. George UT 84770 Last4digits ofaccountnumber

City Stale ZIP Code

Fifth District Court of Utah - Iron County

Name

40 North 100 East

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.1 of (Check one): 1 Part 1: Creditors with Priority Unsecured Claims

Number Street i@ Part 2: Creditors with Nonpriority Unsecured
Claims

Cedar City UT 84720 Last4digitsofaccountnumber |

City State ZIP Code

Eighth District Court of Nevada - Clark County

Name

On which entry in Part 1 or Part 2 did you list the original creditor?

200 Lewis Ave Line 4-1 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims

— — W@ Part 2: Creditors with Nonpriority Unsecured
Claims

Las Vegas NV 89155

City Stale Zip Code Last4 digits ofaccountnumber

Schedule E/F: Creditors Who Have Unsecured Claims

page _of_
Debtor 1

.

Case 24-23530 Doc5 Filed 07/17/24 Entered Q¢/1.7/24.13:45:18 Desc Main

First Name

Middle Name

“ere Document Page 36 of 49
ea List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

United States Court - District of Idaho

Name

550 W. Fort Street Suite 400

Number

Street

Boise

Idaho 83724

City

State

ZIP Code

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

Official Form 106E/F

State

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims page _of_

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.1 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
@ Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims

QO) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
C) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims

Ci) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims

Q) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of accountnumber __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims

(J Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ___

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): C2 Part 1: Creditors with Priority Unsecured Claims

QO) Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number __
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First Name Middle Name

Ea Add the Amounts for Each Type of Unsecured Claim

veneme Document

Page 37 of 49

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6c.

6d.

6f.

6h.

6i.

. Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

. Total. Add lines 6a through 6d.

Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

6j.

Total claim
5 0.00
$ 0.00
; 0.00
+; 0.00
; 0.00
Total claim
$ 0.00
‘ 0.00
: 0.00
53,000,000.00
$ 53,000,000.00

Schedule E/F: Creditors Who Have Unsecured Claims

page _of__
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 38 of 49

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Ammon Edward Bundy

Debtor

First Name Middie Name Last Name
Debtor 2
{Spouse If filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: District of Utah

— C) Check if this is an
amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
WJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

Name

Number Street

City State ZIP Code

2.2

Name

Number Street

City State ZIP Code
2.3

Name

Number Street

City State ZIP Code
2.4

Name

Number Street

City State ZIP Code
2.5

Name

Number Street

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page tof __
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

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‘Debtor? Ammon Edward Bundy

Document Page 39 of 49

Case number (i known),

First Name

Last Name

ee Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

What the contract or lease is for

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

City

Name

Street

State

ZIP Code

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

City

Official Form 106G

Street

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page __ of
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
‘@ of 49

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Debtor 1 Ammon Edward Bundy

First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: District of Utah

Case number
(if known)

CJ Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)

id No
C) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

C2 No. Go to line 3.
a Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

O) No

@ Yes. in which community state or territory did you live”}dhao . Fill in the name and current address of that person.

Lisa Marie Bundy

Name of your spouse, former spouse, or legal equivalent

4615 Harvest Lane

Number Street

Emmett Idaho 83617
City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
Q) Schedule D, line
Name
QU) Schedule E/F, line
Number Street () Schedule G, line
City State ZIP Code
3.2
() Schedule D, line
Name
Q) Schedule E/F, line
Number Street Q) Schedule G, line
City State ZIP Code
13.3
ee ) Schedule D, line
Name
() Schedule E/F, line
Number — Street eee a ee oS? a ds Q) Schedule G, line
City State ZIP Code

Official Form 106H Schedule H: Your Codebtors page 1 of
Case 24-23530 Doc5  Filed07/17/24 Entered 07/17/24 13:45:18 Desc Main

. Debior? | Ammon Edward Bundy

Document — Page 41 Of 49 number winow

First Name

BF acsitionas Page to List More Codebtors

Middie Name Last Name

Column 1: Your codebtor

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

City

State

ZIP Code

Name

Number

Street

Number

City

Street

State

State

ZIP Code

ZIP Code

Name

Number

Street

State

ZIP Code

Number

Street

State

ZIP Code

Name

Number

Street

City

Official Form 106H

State

ZIP Code

Schedule H: Your Codebtors

Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

C) Schedule D, line
(2) Schedule E/F, line
(QI Schedule G, line

CJ Schedule D, line
(] Schedule E/F, line
QO) Schedule G, line

QO) Schedule D, line
(2 Schedule E/F, line
(I Schedule G, line

(2 Schedule D, line
OQ) Schedule E/F, line
OQ) Schedule G, line

CJ Schedule D, line
C) Schedule E/F, line
) Schedule G, line

) Schedule D, line
2 Schedule E/F, line
2 Schedule G, line

Schedule D, line
Schedule E/F, line
Schedule G, line

Ooo

Schedule D, line
Schedule E/F, line
Schedule G, line

OOo

page of__—
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Document Page

42 of 49

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Ammon Edward Bundy

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Utah

Case number
{If known)

Check if this is:
C) An amended filing

Official Form 1061
Schedule I: Your income

lA supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

EEBEEE vescrive Employment

1. Fillin your employment

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one job,

attach a separate page with

information about additional Employment status Q) Employed Q) Employed

employers. a Not employed @ not employed

Include part-time, seasonal, or

SS Beatin Manager, Diesel Technition

Occupation may include student
or homemaker, if it applies.

Employer's name

Abish-husbondi Inc - Self Employe

Employer’s address P.O. Box 1062

Number Street Number Street

Cedar City UT 84721

City State ZIP Code City State ZIP Code
How long employed there? 5 5

ue Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing

spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be.

Estimate and list monthly overtime pay.

Calculate gross income. Add line 2 + line 3.

Official Form 1061

Schedule |: Your Income

For Debtor 1 For Debtor 2 or
non-filing spouse
2g 8,100.00 $ 0.00
3. +3 0.00 + § 0.00
4. | s 8,100.00 5 0.00

page 1
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 43 of 49

£

Debtor 1 Ammon Edward Bundy Case number (if known)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 N@re..............ccc0..sccsscssoscssasccssesssencseseesnsssenesnecnssannesousnenseeecerensenseneees >4. $8,100.00 $ 0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. §$ 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c $ 0.00 $ 0.00
5d. Required repayments of retirement fund loans Sd. S$ 0.00 $ 0.00
5e. Insurance 5e. § 130.00 $ 0.00
5f. Domestic support obligations 5f. $ 0.00 $ 0.00
5g. Union dues 5g. $ 0.00 S 0.00
5h. Other deductions. Specify: 5h. +$ 0.00 +¢ 0.00
6. Add the payroll deductions. Add lines 5a + 5b + 5c+5d+5e+5f+5g+5h. 6. § 0.00 $ 0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $8,100.00 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total ¢ 3,000.00 $ 0.00
monthly net income. 8a. : : :
8b. Interest and dividends 8b.  § 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 S 0.00
settlement, and property settlement. 8c.
8d. Unemployment compensation 8d. § 0.00 $ 0.00
8e. Social Security Be. § 0.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: a. = S. 0.00 $ 0.00
8g. Pension or retirement income 8g. § 0.00 $ 0.00
8h. Other monthly income. Specify: 8h. +$ 0.00 +$ 0.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + 8h. 9. | ¢ 3,000.00 $ 0.00
10. Calculate monthly income. Add line 7 + line 9. $ 11,100.00 + $ 0.00 |e ls 1 1,100.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. ————_—_—— —————__—_——. ————

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify: 11.2 °$
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 11.100.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. BS oe eee

Combined
monthly income
13.Do you expect an increase or decrease within the year after you file this form?

C) No.
id Yes. Explain:

Self Employed Contractor

Official Form 1061! Schedule |: Your Income page 2
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
‘ Document Page 44 of 49

Meme MiCaurlmcm Clits ae colt mrt le

Debtor? | Ammon Edward Bundy

First Name Middie Name Last Name Check if this is:
Debtor 2 i
(Spouse, if filing) First Name Middie Name Last Name Q) An amended filing
CJ A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of Utah expenses as of the following date:
Case number MM / DD/ YYYY
(If known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

oe Describe Your Household

1. Is this a joint case?

@ No. Goto line 2.
CI Yes. Does Debtor 2 live in a separate household?

W No
() Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? C) No
Dependent’s relationship to Dependents Does dependent live
Do not list Debtor 1 and w Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...................0 a
Do not state the dependents’ Child 20 QO =
names. Yes
Child 18 QC) No
a Yes
Child 15 OU No
a Yes
Child 13 O No
Yes
Child 9 U No
Yes
3. Do your expenses include 0 No

expenses of people other than a
yourself and your dependents? Yes

a Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and 2.500 00
any rent for the ground or lot. 4. $ : .

If not included in line 4:

4a. Real estate taxes 4a. § 0.00
4b. Property, homeowner's, or renter’s insurance 4. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 150.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Debtor 1 Ammon Edward Bundy

16.

Sf:

18.

19.

20.

Official Form 106J

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

Document Page 45 of 49

Case number (i known),

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify:

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

17d. Other. Specify:

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify: Child on LDS Mission

Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

15a.
15b.
1c.

15d.

16.

17a.

17b.

17c.

17d.

18.

19.

20a.

20b.

20c.

20d.

20e.

Your expenses

$

0.00

1,000.00

0.00

250.00

0.00

2,000.00

250.00

200.00

50.00

fr fH Ff Ff FH FHF HF H

1,200.00

300.00

150.00

1,100.00

0.00

0.00

130.00

ff fF Ww

0.00

0.00

840.00

0.00

0.00

nf 7 &*

0.00

0.00

200.00

0.00

46.00

0.00

50.00

PFA GF HF

0.00

page 2
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

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Document Page 46 of 49

Debtor 1 Ammon Edward Bundy Case number {if known)
First Name Middle Name Last Name
21. Other. Specify: Tools 21. +5 200.00
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. $ 10,616.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 2%. | § 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. | ¢ 10,616.00
23. Calculate your monthly net income.
5 11,100.00
23a. Copy line 12 (your combined monthly income) from Schedule /. 23a.
23b. Copy your monthly expenses from line 22c above. 23b. ¢ 10,616.00
23c. Subtract your monthly expenses from your monthly income. 484.00
The result is your monthly net income. 23c. $ -
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?
C2 No.
Yes. —_Explainhere: ~ Self employed contractor .
- Car loan for vehicle 1 paid off this month
- 2nd child going on LDS mission
Official Form 106J Schedule J: Your Expenses page 3

Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Page 47 of 49

Document

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Debtor 1 Ammon Edward Bundy

First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middie Name Last Name
United States Bankruptcy Court for the: District of Utah

Case number
(If known)

Official Form 106J-2

Check if this is:

(J An amended filing

QA supplement showing postpetition chapter 13
expenses as of the following date:

MM / DD/ YYYY

Schedule J-2: Expenses for Separate Household of Debtor 2 12/15

Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. /f Debtor 1 and
Debtor 2 have one or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form
only with respect to expenses for Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every

question.

oka Describe Your Household

1. Do you and Debtor 1 maintain separate households?

Wi No. Do not complete this form.

Q) Yes

2. Do you have dependents? QO) No
Do not list Debtor 1 but list all C) Yes. Fill out this information for
other dependents of Debtor 2 each dependent...............cccceeee

regardless of whether listed as a
dependent of Debtor 1 on
Schedule J.

Do not state the dependents’
names.

3. Do your expenses include OC No
expenses of people other than
yourself, your dependents, and OQ) Yes
Debtor 1?

re Estimate Your Ongoing Monthly Expenses

Dependent’s relationship to Dependent’s Does dependent live

Debtor 2:

age with you?

OQ No

O) Yes
(J No

OQ) Yes
(C) No

OQ} Yes
(J) No

CQ) Yes
(J No

C) Yes

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule |: Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Inciude first mortgage payments and

any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes

4b. Property, homeowner's, or renters insurance

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Your expenses
& $
4a. $
4b. §$
4c. $
4d. §

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2 page 1
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main
Document Page 48 of 49

Debtor1 | AMmon Edward Bundy

16.

18.

19.

20.

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

Case number (i known),

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services

Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.
Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify:

instaliment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:

17d. Other. Specify:

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J-2

Schedule J-2: Expenses for Separate Household of Debtor 2

6a.

6b.

16.

18.

19.

20a.
20b.
20c.
20d.
20e.

Your expenses

$

fA Ff Ff fF HF HF HH H

~”

PfwAfnA Ff

fF Ff FF HH

rw fF Ff FH HF

page 2
Case 24-23530 Doc5 Filed 07/17/24 Entered 07/17/24 13:45:18 Desc Main

Document Page 49 of 49

Debtor 1 Ammon Edward Bundy Case number (it known),
First Name Middle Name Last Name
21. Other. Specify: 21.

22. Your monthly expenses. Add lines 5 through 21.
The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the

total expenses for Debtor 1 and Debtor 2. 22.

23. Line not used on this form.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

C) No.
QC) Yes. —_ Explain here:

Official Form 106J-2 Schedule J-2: Expenses for Separate Household of Debtor 2

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page 3
